Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 1 of 19




                 EXHIBIT A
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 2 of 19




 18THJUI2ICIAL
 18TII JUDICIAL DISTRICT
                I)ISTRICT COURT
 Arapahoe County, Colorado

  7325 S. Potomac Street
  Centennial;
  Centennial, CO 80112
  (303)645-6600
 (303)645-6600

 KEGAN WARNER,
           WARNER, individually
                        individually and
                                      and on behalf of
                                                    of aa class of
 all persons and entities sirnilarly
                          similarly situated,

 v.
 v..
                                                                            GOUI2T USE
                                                                            COURT  USE ONLY
 POWER. HOME REMODELING
 POWER.HOlVIE RENIQDELtNG GROUP, LLG
                                 LLC
 Eric R.
 Er'ic R. Coakley,
          Coakley, CO
                   CO Bar
                       Bar.34238
                           34238                                     Case Nurnber:2020cv30752
                                                                     CaseNuriiber:2020cv30752
 Coaldey, LLC
               Park.Blvd. - Suite 100.
 2373 Central Park..Blvd.         100
 Denver, CO 80238
 Tel. (303)500-1778
 co~l_~1evZaGQaidevlaiv:com
           n
 coakleva,coaldeylaw.com                                             Division: 202
                                                                     I3iv'ision:



                                             SUMMONS
                                             SUIVIMONS

TO THE ABOVE     NAMED DEFENDANT:
        AB01iE fil,Al9ilED DEFENDANT: Warner    Home
                                          Vllarner     Remodeling
                                                   liome RerrtodelingGroup,
                                                                      Croup, LLC
Registered agent:
Corporation Service Company, 1900
            Service Company, 1900W.
                                  W. Littleton Boulevard, Littleton, Colorado,
                                               Soulevard, Litt(eton, Colorado, 80120.
                                                                               80120.


YOU ARE HEREBY
            HEREBY SUMildiONED
                       SUMMONED and    and:required
                                            required to fiile
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                                                               with the :Clerk
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                                                                                of this.
                                                                                    this Court.
                                                                                          Court an.
                                                                                                  an
answer or other response
                  response to.
                            to the aftached
                                    attached Complaint.
                                              Complaint. If.  If service
                                                                 service of the Summons and
Complaint
Complaint was
            was made upon
                        upon you
                              you w:ithin
                                   within the
                                           the State      Colorado, you are
                                               State of Colorado,            are required
                                                                                  required to:
                                                                                             to file
                                                                                                 file
your answer or other response    within 21
                       response within  21 days
                                            days after
                                                  after such
                                                        such service upon you. If     If service ofof
    Summons and
the Surnmons   and Complaint
                     Complaint viras
                               was made
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                                            upon you
                                                  you outside
                                                       outside of the
                                                                    the State   of Colorado, you
                                                                         State of
are required
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                 file your
                      your answer oror other
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                                                          within 3535 days after such service
                                                                                            service
upon you. Your
            Your .answer
                  answer or counterclaim must be be accompanied
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                                                                                 applicablefiling
                                                                                              filing
fee.


If
If you
   you fail
        fail to
              to file
                 file your
                       your answer or
                                    or other
                                       other response
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                                                                                       within the
applicable
applica .bletime
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                      period, the  Court .may
                                          may :entGr
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                                                      judgment' by  default against
                                                                 by :defaUlt againstyyou
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                                                                                               the
relief demanded in the Complaint without further notice.notice:

                                                   l
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 3 of 19




Dated  this1.5th
Datedthis   15th day
                 dayofofApril,
                        April, 2020.
                               2.020.




This Summons
This Summon's isisissued,pursuant
                       issued pursuanttotoRuleRule4,
                                                   4, G.RX.P.,,
                                                      C.R:C.P., as
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                                                                     amended., A copy   of the
Complaint
Ooniplairt I must
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                      bO serVed   with thi.
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                                          I s Summons.
                                              $UMmon     . This
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where service
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                   by publication is desired.
                      publicationis  destred.

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                                                                       -oraa.court     seal. T-hThe      ain tiffhas
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             entitled        seek attomey's        fees
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                                                                        plaintiff

     THE CLERK
TO THE      CLERK. IfIf the,
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Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 4 of 19




 18TH  JUDICIALDISTRICT
 18TH .IUI)ICIAL DISTRICTCOURT
                           COURT
 ArapahoeCounty,
 Arapahoe    County,Colorado
                     Colorado

 7325  S.Potomac
 7325 S.  Potomac  Street
                 Street
 Centennial,  CO80112
 Centennial, CO  80112
 (303)645-6600
 (303)645-6600

 KEGAN WARNER,         individuallyand
           WARNER, individually      andononbehalf
                                              behalf
                                                   of of a class
                                                      a class of of
 all persons
     personsand
             and  entities
                entities    similarly
                         similarly     situated,
                                   situated,

 v.
 V.
                                                                       COURT USEONLY
                                                                       COURT USE ONLY
 POWER HOME
 POWER HOMEREMODELING
            REMODELINGGROUP,
                       GROUP, LLC
                             LLC

       R. Coakley,
 Eric R.  Coakley,COCOBar
                        Bar  34238
                           34238                                CaseNumber:2020cv
                                                                Case Number:2020cv
 Coakley,   LLC
 Coakley, LLC
 2373 Central
 2373   CentralPark
                Park  Blvd.
                    Blvd.   - Suite
                          - Suite 100100
 Denver,CO
 Denver,   CO80238
               80238
 Tel. (303)500-1778
 Tel.  (303)500-1778
 coakley&coakleylaw.com
 coakley@coakleylaw.com                                         Division:    Courtroom:
                                                                             Courtroom:



                   CLASS
                   CLASS ACTION
                         ACTIONCOMPLAINT
                                COMPLAINTAND
                                          ANDJURY
                                              JURYDEMAND
                                                   DEMAND


Comesnow
Comes  nowKegan
           KeganWarner,
                   Warner,  through
                        through      his undersigned
                                 his undersigned      counsel,
                                                 counsel,      who his
                                                          who makes makes
                                                                       Classhis Class Action
                                                                             Action
Complaintand
Complaint andJury
              JuryDemand
                   Demand    as Follows:
                          as Follows:


                                       INTRODUCTION
                                       INTRODUCTION

        1. This
        1. This action
                 action arises
                         arisesout  outofofDefendant
                                            Defendant    Power
                                                      Power    HomeHome    Remodeling
                                                                      Remodeling    Group Group
                                                                                            LLC's LLC's
 ("Defendant")violations
 ("Defendant")   violationsofofthe
                                 theTelephone
                                     Telephone    Consumer
                                               Consumer        Protection
                                                          Protection       Act,
                                                                     Act, 47    47 U.S.C.
                                                                             U.S.C. § 227, et seq.
 ("TCPA") and    theColorado
            and the  ColoradoControl
                                  Controlofof Telemarketing
                                            Telemarketing     Fraud
                                                          Fraud       Act ("CTFA"),
                                                                 Act ("CTFA"),       C.R.S.
                                                                                 C.R.S.      § 6-1-301,
                                                                                        § 6-1-301,
 et. seq.

       2. In violation
       2.    violation ofof 47
                            47 U.S.C.
                                U.S.C.§§227(b),
                                           227(b),Defendant
                                                    Defendant      placed
                                                              placed        telemarketing
                                                                       telemarketing         calls an
                                                                                      calls using  using an
 Automatic   Telephone
 Automatic Telephone        Dialing
                         Dialing    System
                                  System       ("ATDS")
                                           ("ATDS")       to Plaintiff
                                                      to Plaintiff      Kegan
                                                                    Kegan        Warner
                                                                            Warner        ("Plaintiff')
                                                                                    ("Plaintiff') and and
 putative  classmembers
 putative class   members       without
                             without theirtheir  consent,
                                             consent,       including
                                                      including          after revoked
                                                                 after they     they revoked     any consent
                                                                                        any consent
 Defendantbelieved
 Defendant   believed   it may
                     it may     have
                             have had.had.

       3.
       3. Furthermore,
          Furthermore, ininviolation
                            violationofof4747 U.S.C.
                                             U.S.C.    § 227(c),
                                                    § 227(c),     through
                                                              through      the regulation
                                                                      the regulation        codified
                                                                                      codified at 47 at 47
 C.F.R.§§64.1200(d)
 C.F.R.    64.1200(d)and
                       and   pertaining
                           pertaining      to Company-Specific
                                      to Company-Specific          Do-Not-Call
                                                              Do-Not-Call  Lists, Lists, Defendant
                                                                                  Defendant  placed placed

                                                 1
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 5 of 19




 telemarketing
 telemarketing calls to Plaintiff and putative class members without impleinenting
                                                                     implementing the policies
 and procedures required by law prior to making such calls.

                                   6-1-304(4)(I) Defendant listed
        4. In violation of C.R.S § 6-1-304(4)(I)                                telephone numbers of
                                                              listed the cellar telephone
 Plaintiff and putative class members in a directory that it uses for a commercial purpose without
 the affirmative consent of Plaintiff and putative class members.

       5.
       5. In violation
             violation of C.R.S
                          C.R.S §§ 6-1-304(4)(II)
                                    6-1-304(4)(11) Defendant  used a scanner
                                                    Defendant used    scanner to obtain
                                                                                 obtain cellular
                                                                                        cellular
 telephone  numbers of Plaintiff and putative
 telephone numbers                              class members
                                      putative class  members and
                                                              and used
                                                                   used those
                                                                        those numbers
                                                                              numbers to make
 commercial telephone solicitations to cellular telephones.

          Accordingly, Plaintiff brings this TCPA
       6. Accordingly,                       TCPAaction
                                                   action on
                                                          on behalf
                                                             behalf of
                                                                    of himself
                                                                       hunself and
                                                                               and two
                                                                                   two classes of
 similarly situated individuals under 47 U.S.C. § 227(b) and § 227(c).


                                JUI2ISDICTION AND
                                JURISDICTION  AND VENUE

       7.
       7. This Court has jurisdiction under C.R.S. § 13-1-124, as because defendant transacts
 business in Colorado.

      8. Venue
      8.       is proper
         Venue is proper under C.R.C.P. 98 because
                               C.R.C.P. 98 because Defendant
                                                   Defendantmay
                                                             may be
                                                                 be found
                                                                    found and
                                                                          and served
                                                                              served in
 Arapahoe County.


                                            PARTIES

      9. Plaintiff is,
      9. Plaintiff is, and
                       a.nd at
                            at all
                               all times
                                   times relevant to this complaint,
                                         relevant to      complaint, aa citizen
                                                                        citizen and
                                                                                and resident
                                                                                    resident of
 Broomfield, Colorado.

       10. Plaintiff Kegan
       10.           Kegan Warner
                           Warneris,
                                  is,and
                                      and atat all
                                               all times
                                                    times relevant
                                                           relevanttotothis
                                                                        this complaint,
                                                                             complaint,aa"person"
                                                                                         "person" as
 defined by 47 U.S.C. § 153(39).

      11.
       11. Defendant Power Home Remodeling
                                   Remodeling Group,
                                                Group, LLC
                                                         LLC is,
                                                              is, and
                                                                  and at
                                                                      at all times
                                                                             times relevant to this
 complaint, a Delaware corporation headquartered at 2501 Seaport Drive, Chester, Pennsylvania
 19013. Defendant maintains a registered agent office at 1900 W. Littleton Boulevard, Littleton,
 Colorado, 80120.

      12. Defendant
      12.  Defendant is,
                      is, and
                          and at
                              at all times mentioned hereinwas,
                                           mentioned herein was,aa"person"
                                                                  "person" as defined
                                                                              defined by 47
 U.S.C. § 153 (39).

        13. Defendant is, and at all times mentioned
        13.                                mentioned herein
                                                     herein was,
                                                            was, aa"commercial
                                                                   "commercial telephone seller"
 as defined by C.R.S. § 6-1-302.



                                                 2
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 6 of 19




                                             THETCPA
                                             THE TCPA

              The TCPA
         14. The
         14.              was passed
                   TCPA was               1991 to
                               passed in 1991   to help
                                                    help prevent    unwanted telephone
                                                           prevent unwanted   telephone calls and
                                                                                                and
  solicitations,  provide
  solicitations, provide  power
                          power  to
                                  to consumers
                                     consumers  to
                                                 to prevent
                                                    prevent   unwanted
                                                              unwanted  solicitations,
                                                                        solicitations, and
                                                                                        and rein
                                                                                            rein in
  unrestricted telemarketing. See 47 U.S.C. § 227, et seq.

       15.   Relevantly, the
       15. Relevantly,     the TCPA
                               TCPAprovides
                                    providesprivate
                                             privaterights
                                                      rightsofofaction
                                                                 actionfor
                                                                        for three
                                                                            three types
                                                                                  types of
  telemarketing-related conduct.

       16.
       16. First, Section 227(b) of
                                  of the
                                     the TCPA
                                         TCPA prohibits
                                               prohibits initiating
                                                          initiating a telemarketing
                                                                       telemarketing call
                                                                                     call using an
  automatic telephone dialing system without the prior express written consent of the called party.

                    express written consent" requires a signed writing that clearly authorizes the
         17. "Prior express
         17.
  seller to deliver
  seller     deliver to
                      to the
                          theperson
                              personcalled
                                     calledadvertisements
                                            advertisements oror telemarketing
                                                                 telemarketing messages
                                                                               messages using
                                                                                         using an
  automatic telephone dialing system or an artificial or prerecorded voice. 47 C.F.R. § 64.1200(f)
  (8).
  (8)•

         18.
         18. This written agreement must clearly and conspicuously
                                                      conspicuously disclose
                                                                      disclose that
                                                                               that the calls would
  be made using an automatic telephone dialing system or an artificial or prerecorded voice, and
  that the person is not required
                         required to sign the agreement as a condition
                                                             condition of
                                                                       of purchasing any property,
  goods, or services. Id. at (f)(i)(A-B).

        19.
        19.A violation of § 227(b) carries statutory damages of $500 to $1,500 per call.

        20. Second, § 227(c) ofof the
                                  the TCPA
                                      TCPA requires
                                             requires the
                                                      the FCC
                                                          FCC to "initiate a rulemaking proceeding
  concerning the
  concerning    the need     protect residential
                    need to protect   residential telephone
                                                  telephone subscribers'
                                                             subscribers' privacy
                                                                           privacy rights
                                                                                   rights to avoid
                                                                                             avoid
  receiving telephone solicitations to which they object." 47 U.S.C. § 227(c)(1).

        21. In this
                 this rulemaking
                       rulemaking proceeding,
                                    proceeding, the
                                                  the FCC        instructed to "compare and
                                                      FCC was instructed                  and evaluate
                                                                                               evaluate
  alternative methods
  alternative   methods andand procedures
                               procedures(including
                                            (includingthetheuse
                                                             useofof ... company-specific  `do not call
                                                                          company-specific 'do     call
  systems ...)"   and"develop
           ...)" and  "developproposed
                                 proposed regulations
                                           regulations to implement
                                                           implement the methods and procedures that
       Commission determines
  the Commission      deternunes are   most effective
                                   are most   effective and  efficient to accomplish
                                                        and efficient                  purposes of this
                                                                            accomplish purposes
  section." Id. at (c)(1)(A), (E).

                         this statutory mandate, the FCC issued two regulations, only one of which
         22. Pursuant to this
  is relevant here.

         23. The relevant regulation under
                                      under § 227(c) established
                                                     established company-specific
                                                                 company-specific "do
                                                                                   "do not
                                                                                       not call"
  rules. In the Matter of Rules and
                                and Regulations Implementing the Telephone Consumer Protection
  Act of
      of1991, 7 FCC Rcd. 8752 (Oct. 16, 1992) ("TCPA Implementation
                                                         Implementation Order").

         24. The
             The FCC found that  that "the
                                      "the company-specific
                                            company-specific do-not-call
                                                             do-not-call list
                                                                          list alternative
                                                                               alternative is
                                                                                           is the most
  effective
  effective and   efficient means
             and efficient  means to permit
                                        permit telephone
                                                telephone subscribers
                                                          subscribers to avoid
                                                                         avoid unwanted
                                                                                  unwanted telephone
                                                                                              telephone
  solicitations." Id. at 8765, ¶¶ 23.

                                                   3
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 7 of 19




       25. However,
            However, recognizing that an honor system would probably be insufficient, the FCC
 found
 found that it "must
                "must mandate
                         mandate procedures
                                  procedures for
                                              for establishing
                                                   establishing company-specific
                                                                company-specific do-not-call
                                                                                 do-not-call lists to
 ensure effective compliance with and enforcement of the requirements for protecting consumer
 privacy." Id. at ¶¶ 24.

       26. These procedures are codified at 47 CFR 64.1200(d)(1)-(7).

       27. Specifically, § 64.1200(d) requires a company to keep a written policy, available upon
 demand, for maintaining
 demand,        maintaining a do-not-call
                                do-not-call list, train personnel
                                                        personnel engaged
                                                                  engaged in telemarketing
                                                                             telemarketing on the
 existence and use of its internal do-not-call list, and record and honor "do not call" requests for
 no less than five years from the
                               the time the
                                        the request is made. 47 CFR § 64.1200(d)(1, 2, 3, 6).

       28. These policies and procedures
                              procedures prohibit a company from making
                                                                   making telemarketing
                                                                          telemarketing calls
 unless they have implemented these policies and procedures. 47 CFR 64.1200(d).

      29. Accordingly,
           Accordingly,all all telemarketing  calls violate
                               telemarketing calls  violate the
                                                             the TCPA
                                                                  TCPA unless
                                                                         unless Defendant
                                                                                Defendant can
                                                                                          can
 demonstrate that it has implemented the required policies and procedures.

       30.
       30. Consent is irrelevant to § 64.1200(d).

       31. A violation of § 227(c)
                            227(c) through
                                   through 47
                                           47 C.F.R.
                                              C.F.R. § 64.1200(d) carries statutory damages of
                                                                          statutory damages
 $500 to $1,500 per call.

       32. Though
           Though some of these requirements
                                   requirements mention                  telephones, they
                                                  mention "residential" telephones,  they were all
 extended
 extended to  cover calls
           to cover calls to cellular
                              cellular telephones  as well
                                        telephones as well as residential
                                                               residential telephones.  47 CFR
                                                                            telephones. 47 CFR §
 64.1200(e).


                                           THE CTFA

        33. The CTFA was was enacted in 1993 to curtail unwanted telephone calls and solicitations,
 deter        calls, provide
 deter such calls,   provide remedies
                              remedies to to consumers
                                              consumers who
                                                        who receive
                                                             receive unwanted
                                                                      unwanted cellular
                                                                                cellular telephone
                                                                                          telephone
 solicitations, and rein in unrestricted
                            unrestricted telemarketing.

      34. The CTFA
      34.      CTFA requires
                     requires commercial
                               commercial telephone
                                              telephone sellers
                                                        sellers such
                                                                such as
                                                                     as Defendant
                                                                        Defendant to
                                                                                  to register with
     Colorado Attorney
 the Colorado  Attorney General
                        General at at least
                                       least ten
                                             ten days
                                                  days prior
                                                       prior to making,
                                                                 making, or
                                                                         or attempting
                                                                             attempting to make,
                                                                                            make,
 commercial telephone solicitations in
                                    in the state of Colorado. C.R.S. § 6-1-302.

       35. Defendant is not, and at all
       35.                          all times
                                        times mentioned herein was not, registered as required by
 the statute,
 the statute, or
              or otherwise
                  otherwise authorized
                            authorized to to make
                                             make commercial    telephonecalls
                                                   commercial telephone     callsinin the
                                                                                       the State
                                                                                           State of
 Colorado.

        36.
        36. The CTFA
                CTFA makes
                      makes it an unlawful
                                  unlawful telemarketing
                                           telemarketing practice for a commercial
                                                                         commercial telephone
 seller    conduct business
 seller to conduct business in Colorado
                               Colorado without
                                        without registering  as required
                                                 registering as          by C.R.S.
                                                                required by C.R.S. § 6-1-303.
                                                                                      6-1-303.
 C.R.S. § 6-1-304(a).
                                              04
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 8 of 19




        37.
        37. In 2005, the Act was amended to make it an unlawful practice for any person to list
 cellular
 cellular telephone
          telephone numbers
                      numbers in
                              in aa directory
                                     directory for
                                                for commercial
                                                     commercial purposes
                                                                purposes without
                                                                         without the
                                                                                  the affirmative
                                                                                       affirmative
 consent of the person whose number has been listed. C.R.S. § 6-1-304(4)(a)(I).

       38.
       38. The 2005 amendment also made it unlawful for any person to use a scanning
                                                                               scanning device
 or other electronic means to identify
                                identify a cellular
                                           cellular telephone number and to make
                                                    telephone number        make aa commercial
                                                                                     commercial
 telephone solicitation. C.R.S. § 6-1-304(4)(a)(I).

       39.
       39. The CTFA provides
                       provides aa private
                                   private right
                                           right of action to consumers
                                                              consumers for violations of C.R.S. §
 6-1-304 and allows consumers to recover consequential damages, court costs, attorney fees, and
 a penalties from $300
                  $300 to
                       to $1,000
                          $1,000 for
                                  for each
                                      each ofPense.
                                            offense. C.R.S. § 6-1-305(1)(c).


                         PLAINTIFF'S FACTUALALLEGATIONS
                                     FACTUAL ALLEGATIONS

       40. Plaintiff Warner
                     Warner is
                            is aa"person"
                                 "person" as
                                          as defined
                                             defined by 47 U.S.C. § 153(39).

       41. Plaintiff's telephone
       41.             telephone number, (XXX) XXX-4035, is assigned
                                               XXX-4035, is assigned to a cellular
                                                                          cellular telephone
                                                                                   telephone
 service.

       42. In September of
                        of 2018, Plaintiff
                                 Plaintiff purchased a new home.

       43. In approximately
                approximately March
                               March ofof 2019,
                                          2019, aa representative   from the Defendant
                                                    representative from      Defendant came
                                                                                        came to
 Plaintiff's house to inform
                      inform him that the prior
                                          prior owner
                                                owner allegedly   had work done to the home and
                                                       allegedly had
 should still be under a Power HRG warranty.

       44. The   Power HRG
            The Power  HRG representative
                            representative also
                                           also offered
                                                offered Plaintiff
                                                        Plaintiff an
                                                                  an offer
                                                                     offer to purchase
                                                                              purchase their
                                                                                        their
 services himself.

       45. However, Plaintiff was interested in seeing if the warranty still covered his home.
       45.

       46. As a result,
                result, Plaintiff
                        Plaintiff contacted called
                                            called Power
                                                   Power HRG
                                                         HRG to
                                                              to learn
                                                                 learn if
                                                                       if he was covered by the
 warranty.

       47. In return, Plaintiff began receiving autodialed telemarketing calls.
       47.

       48. Upon information and belief, Plaintiff's
       48.                              Plaintiff's telephone number was obtained by Defendant
 using a scanner or other
                    other electronic
                          electronic device (i.e. from a caller ID) and added to a directory
                                                                                   directory used
 by Defendant to make commercial telephone solicitations.

       49. Each call that was answered followed a distinct pattern.
       49.

       50.
       50. Plaintiff
           Plaintiff would pick up the phone and there would be dead air.

       51.
       51. Plaintiff
           Plaintiff then heard a click and a pause.

                                                 G
                                                 5
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 9 of 19




       . 52.
         52. The
             The pause
                  pause signifies
                        signifies the
                                  the algorithm
                                      algorithm of
                                                of aa predictive dialer operating. The predictive
  dialer dials thousands of numbers at once, and only transfers the call to a live agent once a
  human being is on the line.

         53. On information and belief, the dialing system used by Power HRG has the capacity to
  store telephone numbers in a database and dial them automatically with no human intervention.

        54.0n
        54.On information and belief, the dialing system used by Power HRG stores numbers in a
  database, and when a simple command is executed, generates numbers from that database into a
  new, temporary database of numbers to be called.

        55.
        55. On information and belief, using another straightforward computer command, the
  dialing system can also produce numbers using a sequential number generator and dial the
  numbers automatically.

        56.
        56. In that scenario, the dialing system could dial a number such as (555) 000-0001, then
  (555) 000-0002, and so on.

        57.
        57. This would be done without any human intervention or further effort.

        58. On information and belief, the dialing system used by used by Power HRG is driven
        58.
  by software that utilizes an algorithm that determines when Power HRG will make a phone call.
  The dialer makes this determination automatically and without human intervention. These
  characteristics too are indicative
                          indicative of
                                     of an
                                        an Automatic Telephone Dialing System.

        59.
        59. The Plaintiff would then be transferred to a telemarketing
                                                         telemarketing representative who would
  attempt to sell him Power HRG services, which he wasn't interested in.

        60. On August 31, 2019, Mr. Warner
        60.                         Warner made
                                           made aa telephone
                                                   telephone call
                                                             call to
                                                                   to Power
                                                                      Power HRG
                                                                            HRG to
                                                                                to ask that he
  no longer be contacted.

        61. Power HRG confirmed that he would be added to its Do Not Call list.
        61.

        62. However, the calls continued.
        62.

      63.
      63. In fact, the Plaintiff
                       Plaintiff believes
                                 believes he
                                          he has
                                             has received
                                                 received 12
                                                          12 calls
                                                             calls since
                                                                   since the
                                                                          the date
                                                                              date of his call to
 Power HRG.

        64. Plaintiff
        64. Plaintiff never   provided Defendant
                      never provided    Defendant with
                                                  with "prior
                                                       "prior express
                                                              express written
                                                                      written consent"
                                                                              consent" or
                                                                                       or
 "affirmative consent"
              consent" as
                       as defined
                          defined by law.

        65. Plaintiff is not alone in his experiences with Defendant ignoring do-not-call requests.
        65.

      66. Numerous online reviews indicate the widespread
      66.                                      widespread nature
                                                          nature of
                                                                 of Power
                                                                    Power HRG's persistent
 unwanted calling:

                                                  ri
                                                  6
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 10 of 19




               ▪' A June 12, 2019 Better Business Bureau ("BBB") complaint states: "I have asked
                  this company to stop
                                     stop soliciting
                                           soliciting at my house because         they do
                                                                       because they     do not know when to
                  stop. I asked them to stop
                                          stop calling me and they continue to      to call.
                                                                                       call. I also ask them to
                  take me off
                  take       off of
                                 of their
                                     their list
                                            list and
                                                  and yet
                                                       yet they
                                                            they continue
                                                                   continue toto knock
                                                                                  knock atat mymy door.
                                                                                                   door. Every
                                                                                                           Every
                  salesman says the same thing to me that   that "they
                                                                 "they didn't know and only wanted to see
                  if I want a free quote".
                                   quote". Even
                                            Even after I aslc   them to
                                                           ask them   to leave
                                                                          leave they
                                                                                 theywill
                                                                                      will continue
                                                                                             continue to
                                                                                                       to push."'
                                                                                                          push."'

               ▪' A A February2,2,
                    February        2019
                                 2019  BBBBBBcomplaint
                                                complaintstates:
                                                          states:"Calls
                                                                  "Calls house
                                                                          house phone
                                                                                phone (###-###-####)
                                    day. I have answered twice and told a man I'm not interested. The
                    several times a day.
                    company continues to call - 12 times in the last 5 days. This has been going on for
                    several weeks."

               •' AAJulyJuly22,22,20182018
                                         BBB BBB  complaint
                                                     complaintstates:
                                                                   states: "We
                                                                             "We receive
                                                                                    receive sales
                                                                                               sales calls
                                                                                                      calls fromfrom
                   ***********"
                      * * * * * * * * *Caller
                                       * * Caller
                                              ID:ID:  * * * * * * * *almost
                                                   ****"*****         * * * almost
                                                                              dailydaily despite
                                                                                    despite  thethe factthat
                                                                                                 fact     thatwe
                                                                                                               we are
                                                                                                                  are
                   on the Do Not Call Call registry and have told them this numerous times and requested
                   they stop calling. On On 7/14/18
                                             7/14/18 we received 5 calls from them within the space of an
                   hour.
                   hour. Three
                           Three of them
                                       them were
                                              were onon our
                                                         ourlandline:
                                                              landline: 7/14/18
                                                                          7/14/18 10:18am
                                                                                    10:18am 7/14/18
                                                                                                7/14/18 10:42am
                                                                                                           10:42am
                    7/14/18 11:04am When we answered answered thethe last
                                                                      last call
                                                                           call a recording
                                                                                  recording said to please hold
                   on while they transfer
                                     transfer us
                                              us to
                                                  to confirm
                                                     confirm our
                                                               our appointment. Two Two of the other calls were
                   on our cell phone. Please help us stop these nuisance calls."

               •' A Yelp
                     Yelp review
                          review on August 11,    2017 states: "Terrible
                                              11, 2017          "Terrible experience
                                                                          experience and
                                                                                      and now
                                                                                           now they will
                  not stop calling.
                            calling. On
                                     On the
                                         the verge
                                             verge of
                                                   of filing
                                                       filing harassment
                                                              harassment charges
                                                                           charges after telling them to
                  stop calling many times. I had to call block them. Ugh!"

               ▪' A A  Yelpreview
                    Yelp     reviewononDecember
                                        December 20,
                                                  20, 2016
                                                       2016 states,
                                                             states, in
                                                                     in part:
                                                                         part: "I
                                                                               "I made
                                                                                  made the
                                                                                         the mistake
                                                                                             mistake of
                                     number when I told one of their sales reps Id let them know about
                    giving them my number
                      possible roof replacement.
                    a possible       replacement. Now
                                                  Now they
                                                        they are
                                                              are non
                                                                  non stop
                                                                        stop calling  for 3 months
                                                                             calling for    months and
                                                                                                    and
                    counting!
                    counting! !"

         67.
         67. Accordingly,
             Accordingly, pursuant
                          pursuant to
                                    to §§ 227(b),
                                          227(b), Plaintiff
                                                  Plaintiff isis entitled
                                                                 entitled to
                                                                           to $500
                                                                              $500 per
                                                                                    per call
                                                                                        call made
                                                                                             made to his
  cellular telephone number without his express written consent, which includesincludes calls made after
  his revocation of consent.

       68.
       68. Plaintiff
           Plaintiff is
                     is entitled to $1,500
                        entitled to        per call
                                    $1,500 per call if the
                                                        the Court
                                                            Court finds
                                                                   finds that
                                                                          that the
                                                                                the violations
                                                                                    violations were
                                                                                               were
  knowing and/or willful.

        69.
        69. Defendant also did not
                                 not maintain
                                     maintain the policies and procedures required for maintaining
    do-not-call list,
  a do-not-call list, as required
                         required by
                                  by the
                                      the regulation
                                           regulation 47
                                                      47 C.F.R.
                                                         C.F.R. §§ 64.1200(d),
                                                                   64.1200(d), prescribed
                                                                               prescribed under 47
  U.S.C. § 227(c).

           70. Specifically, Defendant did not maintain a written do-not-call policy.
           70.


 11 Any   typos, alterations, or errors in
                                        in this section were part of the included complaint or review.
                                                        7
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 11 of 19




        71. Defendant further
        71.           further did not train its telemarketers on the
                                                telemarketers on the existence
                                                                     existence and
                                                                               and use
                                                                                   use of any do-
  not-call policy.

        72. Defendant further did not document do-not-call requests when made, nor did it honor
        72.
  such requests.

             Plaintiff received
         73. Plaintiff
         73.           received more
                                more than one telemarketing
                                              telemarketing call from Defendant
                                                            call from Defendant in
                                                                                in violation
                                                                                   violation of
  this regulation.

        74.
        74. Accordingly, Plaintiffisis entitled
            Accordingly, Plaintiff     entitledtoto an
                                                    an additional
                                                       additional$500
                                                                  $500 for  each call
                                                                        for each call placed
                                                                                       placed to
                                                                                              to his
  telephone number in violation of
                                 of regulation
                                    regulation 47 C.F.R. § 64.1200(d), prescribed
                                                                         prescribed pursuant
                                                                                      pursuant to 47
  U.S.C. § 227(c).

         75. Plaintiff is entitled to $1,500 per call for violations
                                                          violations of
                                                                     of § 227(c) if the Court finds that
  the violations were knowing and/or willful.

        76. Plaintiff
        76.            is entitled
            Plaintiff is  entitled to
                                    to a penalty of $300
                                         penalty of $300 to
                                                         to $500 for a first
                                                            $500 for   first violation
                                                                             violation of C.R.S.
                                                                                          C.R.S. §
  6-1-304(4), and $500 to $1,000 for each
                                        each subsequent offense.

          77. Plaintiff has suffered actual injury
          77.                               injury because
                                                   because of
                                                           of Defendant's
                                                              Defendant's telemarketing
                                                                           telemarketing telephone
                                                                                         telephone
  calls, including, but not limited to:

                ▪' Receiving a telemarketing call despite affirmatively placing his number on the
                   national "do not call"
                                    call" registry
                                          registry and asking that he no longer receive calls from
                   the Defendant;

                •' Reduced device storage;

                •`   Lost time tending to and responding to the calls;

                •' Mental  energy;
                    Mentalenergy;

                •®   Invasion of Privacy;

                •' Nuisance;
                    Nuisance;

                ▪' Deprivation
                    Deprivationofofthe
                                     theright
                                          righttotorequest,
                                                     request,receive,
                                                              receive, and
                                                                        andact
                                                                            actininaccordance
                                                                                    accordance with
                                                                                               with the
                    mandated "do not
                                   not call"
                                        call"policy to stop further calls.

                •' Increased risk of
                                  of all the above.




                                                   8
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 12 of 19




                               CLASS
                               CLASSACTION
                                     ACTIONALLEGATIONS
                                           ALLEGATIONS

         78. Plaintiff brings this action under Fed. R. Civ. P.
                                                             P. 23
                                                                23 on behalf of four Classes, defined
  as follows:

               April 28, 2016, Plaintiff and all persons within the United States to whose
        Since April
        cellular telephone
        cellular telephone number
                             number Defendant     placed a telemarketing
                                     Defendant placed                       call using dialing
                                                            telemarketing call         dialing
        equipment and/or
        equipment     and/or software
                              software identical
                                        identical oror substantially
                                                       substantially similar
                                                                      similar to
                                                                               to the dialing
                                                                                       dialing
        equipment and/or
        equipment    and/or software
                            software used to place telephone    calls to Plaintiff without the
                                                     telephone calls
        prior express written consent
                               consent of
                                       of the
                                          the called party.

        ("Dialer Class")

              Apri128,
        Since April 28, 2016, Plaintiff and all persons within the United States to whose
        telephone number
        telephone  number Defendant
                           Defendant placed
                                        placed(or
                                                (or had
                                                    had placed
                                                        placed on
                                                               on its
                                                                  its behalf)
                                                                      behalf) two
                                                                              two or more
        telemarketing telephone calls
                                calls in
                                      in aa 12-month period.

         ("Policy Class")

        Since March
        Since  March 31,           Plaintiff and
                        31, 2017 Plaintiff   and all persons
                                                     persons within
                                                             within Colorado
                                                                      Colorado andand have
                                                                                        have a
        cellular
        cellular telephone
                  telephone with
                             with a Colorado
                                     Colorado area code
                                                     code whose
                                                          whose cellar
                                                                 cellar telephone
                                                                         telephone numbers
                                                                                       numbers
        were
        were listed
              listed without
                      without affirmative   consent by
                              affirmative consent   by Defendant
                                                       Defendantinin aa directory
                                                                        directory itit used for
        commercial purposes.

        ("Colorado Directory Class")

        Since March 31, 2017, Plaintiff and all persons in who have a cellular telephone
        with a Colorado
               Colorado area code
                                code whose
                                     whose cellular
                                           cellular telephone numbers were identified by
        Defendant using
        Defendant   using aa scanner
                             scanner or other
                                         other electronic
                                                electronic device
                                                           device to make
                                                                     make aa commercial
                                                                              commercial
        telephone solicitation.

        ("Colorado Scanner Class")

        79. Excluded from the Classes are Defendant
                                            Defendant and
                                                       and any
                                                            any entities in which Defendant has a
  controlling interest; Defendant's
  controlling interest; Defendant's agents
                                    agents and
                                            and employees;   any Judge
                                                 employees; any   Judge and Magistrate
                                                                              Magistrate Judge
                                                                                         Judge to
                                     any member
  whom this action is assigned and any   member of their staffs and immediate
                                                                      immediate families, and any
  claims for personal injury, wrongful death, and/or emotional distress.

        80. Ascertainability:
        80. Ascertainability: The exact number and identities
                                                   identities of
                                                              of the persons
                                                                     persons who fit within the
  Classes     ascertainable in that
  Classes are ascertainable    that Defendant
                                    Defendant maintains
                                              maintains written
                                                        written and electronically
                                                                      electronically stored
                                                                                     stored data
  showing:

            a. The time period(s) during which Defendant placed its telephone calls;
            a.

            b. The telephone numbers to which Defendant placed its telephone calls;
                                                  9
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 13 of 19




            c. The dates Defendant placed telephone calls to each class member;

            d. The names and addresses
            d.               addresses of Class members;

            e. The equipment and method used to identify telephone numbers;
            e.

            f. The compilation of
                               of the directory used for commercial purposes;

            g. The
                Theequipment
                    equipmentDefendant
                              Defendantused
                                        used to
                                              to call
                                                 call Class
                                                      Class members.

      81. Commonality: There are common questions of law and fact affecting the rights of the
  Members of the Classes, including, inter alia, the following:

            a.
            a. Whether Defendant made telemarketing calls;

            b.
            b. Whether Defendant uses an automatic telephone dialing system;

            c.
            c. Whether Defendant uses a scanner or other electronic means to identify and store
               telephone numbers;

            d.
            d. Whether
               Whether Defendant obtains prior affirmative
                                                  affirmative consent
                                                              consent or express written consent
               and/or tracks revocation of
                                        of such consent;

            e. Whether Defendant lists cellular telephone numbers in a directory for commercial
               purposes;

            f. Whether Defendant maintained a written policy or other procedures to obtain and
               track the affirmative consent of the person whose number is listed in its directory;

            g.
            g.   Whether Defendant maintained a written "do
                                                        "do not call" policy;

               Whether Defendant trained its employees
            h. Whether                         employees or agents engaged in telemarketing on
               the existence and usage of any "do not call" policy;

            i. Whether Defendant recorded or honored
                                             honored "do
                                                     "do not call" requests;

           j• Whether Plaintiff
           j. Whether  Plaintiff and
                                 and the  Classes were
                                      the Classes      damaged thereby,
                                                  were damaged thereby,and
                                                                        and the
                                                                             the extent
                                                                                 extent of
              damages for such violations; and,

               Whether Defendant
            k. Whether Defendant should
                                 should be
                                        be enjoined
                                           enjoined from
                                                     from engaging
                                                          engaging in
                                                                    in such
                                                                       such conduct
                                                                            conduct in the
               future.

         82. Typicality: Plaintiff's claims are
                         Plaintiff's claims are typical of the claims of the Members of the Classes
  in that they arise from Defendant's   uniform conduct and are based on the same legal theories as
                          Defendant's uniform
  these claims.

                                                10
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 14 of 19




        83.
        83. Plaintiff is a member and his claims are typical of the Dialer Class because Defendant
  placed telephone
  placed telephone calls to his
                             his cellular
                                  cellular telephone
                                            telephone using
                                                      using an
                                                            an automatic
                                                               automatic telephone
                                                                          telephone dialing
                                                                                     dialing system
                                                                                             system
  without his consent.

        84. Plaintiff is a member and his claims are typical of the Policy Class because Defendant
        84.
  placed two
  placed          more calls
         two or more      calls for
                                 for telemarketing
                                      telemarketing purposes in a one-year
                                                    purposes in   one-year period
                                                                           period to his
                                                                                     his telephone
                                                                                          telephone
  number without having the required policies, procedures, and training in place.

        85.
        85. Plaintiff
            Plaintiff is   member and his
                      is a member       his claims
                                             claims are
                                                    are typical
                                                         typical of
                                                                 of the
                                                                     the Colorado
                                                                          Colorado Directory
                                                                                    Directory Class
                                                                                              Class
  because
  because Defendant
          Defendant listed his cellular telephone
                                        telephone numbers
                                                   numbers inin a directory it uses for
                                                                                    for commercial
                                                                                        commercial
  purposes without affirmative consent.

        86.
        86. Plaintiff
            Plaintiff is    member and
                      is a member    and his
                                          his claims
                                               claims are
                                                      are typical
                                                           typical of
                                                                   of the
                                                                       the Colorado
                                                                            Colorado Scanner
                                                                                      Scanner Class
                                                                                                Class
  because Defendant
  because  Defendant listed
                       listed used
                              used aa scanner
                                      scanner or other
                                                   other electronic
                                                         electronic device
                                                                    device to identify
                                                                                identify his
                                                                                         his cellular
                                                                                              cellular
  telephone number and made a commercial solicitation.

         87.
         87. Plaintiff
              Plaintiff and all
                            all putative
                                 putative Class
                                            Class Members
                                                  Members have
                                                             have also
                                                                   also necessarily
                                                                         necessarily suffered
                                                                                      suffered concrete
                                                                                                concrete
  injury,
  injury, as all Members spent time tending to Defendant's calls, lost space on their devices, had
  their phone lines tied up, and suffered a nuisance and an invasion of their privacy as they were
  unable to effectively stop the calls
                                  calls if
                                        if they
                                           they wanted
                                                wanted to
                                                        to do
                                                           doso,
                                                              so,or
                                                                 orobtain
                                                                     obtainaa"do
                                                                             "do not call policy" upon
  which they could rely to stop the calls.

        88.
        88. With respect to the Registry
                                  Registry and
                                           and Policy
                                                Policy Classes
                                                        Classes specifically, Defendant's failures to
  abide
  abide by those regulations
                   regulations also
                               also increased
                                    increased the
                                               the risk
                                                   risk of harm
                                                           harm (such
                                                                 (such as nuisance and invasion
                                                                                         invasion of
  privacy) to Plaintiff and those Class Members.

        89. Adequacy: Plaintiff has no interests antagonistic to, or in conflict with, the Classes.

        90. Plaintiff will thoroughly
                           thoroughly and adequately
                                          adequately protect
                                                       protect the
                                                               the interests
                                                                   interests of the Classes,
                                                                                    Classes, having
                                                                                             having
  retained qualified and competent legal counsel to represent himself and the Classes.

        91. Defendant has acted and refused to act on grounds generally applicable to the Classes,
  thereby making injunctive and declaratory relief appropriate for the Classes.

        92. The prosecution of separate actions by individual
                                                   individual class members would create a risk
  of inconsistent or varying adjudications.

        93.
        93. A class
               class action
                      action is
                              is superior
                                  superior to
                                            to other
                                                other available
                                                       available methods for the
                                                                 methods for the fair
                                                                                  fair and
                                                                                        and efficient
                                                                                             efficient
  adjudication
  adjudication of the controversy since, inter alia, the damages
                                                            damages suffered by each class
                                                                                       class member
                                                                                             member
  make individual actions uneconomical.

        94. Common
            Common questions
                   questions will predominate, and
                             will predominate, and there
                                                   there will
                                                         will be no
                                                                 no unusual
                                                                     unusual manageability
                                                                             manageability
  issues.



                                                  11
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 15 of 19




                                 FIRSTCLAIM
                                 FIRST    CLAIMFOR  FORRELIEF
                                                          RELIEF
                           Violations
                           Violationsof
                                      ofthe
                                         theTCPA,
                                             TCPA,47  47U.S.C.
                                                         U.S.C. § 227(b)
                           (On Behalf  of Plaintiff and the Dialer Class)
                                Behalf of

      95. Plaintiff
           Plaintiff and the proposed
                                proposed Dialer Class incorporate
                                                      incorporate all
                                                                  all allegations set forth
                                                                      allegations set forth in this
  Complaint as if fully set forth herein.

        96.Defendant
        96.Defendant placed
                     placed numerous calls for telemarketing
                                               telemarketing purposes  to Plaintiff's and Dialer
                                                             purposes to
  Class Members' cellular telephone numbers.

        97. Defendant did so using an automatic telephone dialing system.

            Defendant did
        98. Defendant did so without the prior
                                         prior express                    Plaintiff and Dialer
                                               express written consent of Plaintiff     Dialer
  Class Members.

       99. Plaintiff
           Plaintiff and
                     and Dialer
                          Dialer Class
                                 Class Members
                                       Members areare entitled
                                                      entitled to
                                                                to an
                                                                   an award
                                                                      award of $500 in
                                                                                     in statutory
                                                                                         statutory
  damages telephone call pursuant to 47 U.S.C. § 227(b)(3).

        100.
        100. Plaintiff and Dialer Class Members are entitled
                                                     entitled to
                                                              to an award of treble damages in an
  amount
  amount up toto $1,500
                  $1,500 telephone
                          telephone call
                                     call because
                                           because Defendant's
                                                   Defendant's violations
                                                                 violations were
                                                                            were knowing
                                                                                  knowing and/or
                                                                                          and/or
  willful.


                               SECOND      CLAIMFOR
                               SECOlVD CLAIM        FORRELIEF
                                                          RELIEF
                           Violationsof
                           Violations ofthe
                                         theTCPA,
                                             TCPA,47 47U.S.C.
                                                        U.S.C.§§227(c)
                                                                  227(c)
                           (On Behalf of
                                      of Plaintiff and the Policy Class)

      101.
      101. Plaintiff
            Plaintiff and the proposed Policy Class incorporate
                                                    incorporate all
                                                                all allegations
                                                                    allegations set
                                                                                set forth
                                                                                    forth in this
  Complaint as if fully set forth herein.

        102. Defendant placed
        102. Defendant  placed numerous
                               numerous calls
                                         calls for telemarketing purposes
                                               for telemarketing purposes to  Plaintiff's and
                                                                           to Plaintiff's
  Policy Class Members' telephone numbers.

        103. Defendant did
        103. Defendant did so despite not
                           so despite     having a written
                                      not having   written policy
                                                           policy pertaining
                                                                  pertaining to
                                                                              to "do
                                                                                 "do not call"
  requests.

        104.
        104. Defendant
              Defendant diddid so despite not training
                                              training its personnel
                                                           personnel on
                                                                     on the
                                                                        the existence
                                                                            existence or
                                                                                      or use of any
  internal "do not call" list or policy.

        105.
        105. Defendant did so despite not recording or honoring "do
                                                                "do not call" requests.

         106.
         106. Defendant placed two or more telephone calls to Plaintiff and Policy Class Members
  in a 12-month period.


                                                12
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 16 of 19




        107. Plaintiff
        107.            and Policy
              Plaintiff and Policy Class
                                   Class Members
                                         Members are are entitled
                                                         entitled to  an award
                                                                   to an award of $500 in
                                                                                       in statutory
                                                                                          statutory
  damages telephone call pursuant to 47 U.S.C. § 227(c)(5), in addition to and separate from any
  award for damages related to Defendant's
                                 Defendant's calls using an automatic telephone dialing system and
                                             calls using
  in addition to and separate from any award for Defendant's calls to persons on the National Do-
  Not-Call Registry.

        108. Plaintiff and Policy Class Members are entitled
        108.                                          entitled to
                                                               to an
                                                                  an award
                                                                     award of treble damages in an
  amount
  amount up to $1,500
                $1,500 per
                         per telephone
                              telephone call
                                        call because
                                             because Defendant's
                                                     Defendant's violations were knowing
                                                                                   knowing and/or
  willful.

                                TI3IRD
                                THIRD CLAIM FOR RELIEF
                        Violations of the CTFA, C.R.S. § 6-1-304(a)(II)
                    (On behalf of the Plaintiff and the Colorado Scanner Class)

         109. Plaintiff and the proposed
         109.                    proposed Colorado
                                             Colorado Scanner
                                                        Scanner Class
                                                                Class incorporate
                                                                      incorporate all allegations
                                                                                      allegations set
  forth in this Complaint as if fully set forth herein.

        110.
        110. Defendant is aa"commercial
                            "commercial telephone
                                         telephone seller"
                                                   seller" as
                                                           as defined by C.R.S. § 6-1-302.

         111. Upon information and belief, Defendant used
         111.                                         used a scanning device or other electronic
                                                                                      electronic
  means to identify cellular
                    cellular telephone numbers of Plaintiff and persons in the Colorado
                                                                               Colorado Scanner
                                                                                        Scanner
  Class.

       112.
       112. Defendant did so without the prior express written consent of Plaintiff and Colorado
  Scanner Class Members.

       113.
       113. Plaintiff and Colorado Scanner Class members are
                                                         are entitled
                                                             entitled to
                                                                      to the penalty of $300 to
  $1000 per call as provided by C.R.S. § 6-1-305(1)(c).

                               FOURTIH
                               FOURTH CLAIM CLAIM FOR FOR RELIEF
                        Violations of the CTFA, C.R.S. § 6-1-304(a)(II)
                   (On behalf of the Plaintiff and the Colorado Directory Class)

         114. Plaintiff and the proposed
         114.                    proposed Colorado
                                            Colorado Directory Class incorporate all allegations
                                                                                     allegations set
  forth in this Complaint as if fully set forth herein.

        115. Upon
        115.  Upon information   and belief, Defendant
                     information and                    listed the
                                             Defendant listed  the cellular
                                                                    cellular telephone
                                                                             telephone number
                                                                                       number of
  Plaintiff and Colorado Directory Class Members in a directory it used for commercial purposes

       116.Defendant did
       116.Defendant   did so
                           so without
                              without the prior
                                          prior express
                                                 express affirmative
                                                         affirmative consent
                                                                     consent of Plaintiff
                                                                                Plaintiff and
                                                                                          and
  Colorado Directory Class Members.

        117. Plaintiff and Colorado Directory Class Members
                                                     Members are
                                                             are entitled
                                                                 entitled to
                                                                          to the penalty of $300
  to $1000 per call as provided by C.R.S. § 6-1-305(1)(c).

                                                 13
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 17 of 19




                                       PRAYER
                                       PRAYER FOR
                                              FORRELIEF
                                                  RELIEF

        WHEREFORE,
        WHEREFORE, Plaintiff Warner, individually and
                                                  and on behalf
                                                         behalf of the
                                                                   the Classes,
                                                                       Classes, prays for the
 following relief:

        A.      An order certifying the Classes as defined above, appointing Plaintiff Warner as
        the representative of the Classes and appointing his counsel as Class Counsel;

        B.     An order declaring that Defendant's actions, as set out above, violated 47 U.S.C. §
        227(b) and § 227(c);

        C.
        C.     An order declaring that Defendant's actions, as set out above, violated C.R.S.
                                                                                       C.R.S. §
        6-1-304(4)(a)(I) and (II);

        D.      An award of injunctive and other equitable relief as necessary to protect the
        interests of the Classes, including, inter alia, an order prohibiting Defendant from
        engaging in the wrongful and unlawful acts described herein;

        E.      An award of statutory damages for each violation of 227(b) and (c) and the
        regulations promulgated thereunder;

        F.
        F.      An award of damages and penalties provided for at C.R.S. § 6-1-305(c);

        G.
        G.      An award of treble damages;

        H.      An award of reasonable attorneys' fees and costs; and,

        I.      Such other and further relief that the Court deems reasonable and just.

                                           JURY DEMAND
                                           JURY DEMAND

        PlaintifFrequests
        Plaintiff requests a trial by jury of
                                           of all claims that can be so tried.

 Dated this 31st day of March, 2020.

                                                CoAKLEY, LLC
                                                COAKLEY, LLC

                                                s/Eric R. Coakley

                                                Eric R. Coakley




                                                   14
    Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 18 of 19

J




      18TH
      18TH .TUDICIAL DISTRICT COURT
            JUDICIALI)ISTRICT  COURT
      Arapahoe   County,Colorado
      Arapahoe County,   Colorado

      7325S.
      7325  S.Potomac
               Potomac  Street
                      Street
      Centennial,CO
      Centennial, CO80112
                      80112
      (303)645-6600
      (303)645-6600

      KEGAN WARNER,
                WARNER,individually
                            individuallyandandononbehalf
                                                    behalf
                                                         of of a class
                                                            a class of of
      all persons
          personsand
                  and  entities
                     entities    similarly
                              similarly     situated,
                                        situated,

      v.
      V.
                                                                                    COUP2T USE
                                                                                    COURT  USE ONLY
                                                                                               ONLY
      POWERHOME
      POWER HOMEREMODELING
                 REMODELINGGROUP,
                            GROUP, LLC
                                  LLC


      Eric R.
            R. Coakley,
               Coakley,COCOBar
                             Bar  34238
                                34238                                       Case  Number:2020cv
                                                                            Case Number:2020cv
      Coakley,LLC
      Coakley,   LLC
      2373 Central
      2373   CentralPark
                     Park  Blvd.
                         Blvd.   - Suite
                               - Suite 100100
      Denver,
      Denver, COCO80238
                    80238
      Tel.  (303)500-1778
      Tel. (303)500-1778
      coakley@coakleylaw.com
      coakley@coakleylaw.com                                                Division:          Courtroom:
                                                                                               Courtroom:

                COURTCIVIL
       DISTRICT COURT CIVIL (CV)
                            (CV) CASE
                                 CASECOVER
                                      COVERSHEET
                                            SHEET FOR
                                                 FOR   INITIAL
                                                     INITIAL   PLEADING
                                                             PLEADING OFOF COMPLAINT,
                                                                         COMPLAINT,
          COUNTERCLAIM, CROSS-CLAIM
                        CROSS-CLAIM ORORTHIRD
                                         THIRDPARTY
                                               PARTYCOMPLAINT
                                                     COMPLAINTANDANDJURY
                                                                     3URYDEMAND
                                                                           DEMAND

     1. This
     1.      coversheet
        This cover   sheet  shall
                         shall bebe    filed
                                    filed     with
                                           with  thethe  initial
                                                     initial     pleading
                                                             pleading   of a of  a complaint,
                                                                              complaint,             counterclaim,
                                                                                              counterclaim,    cross- cross-
        claim or third
        claim or  thirdparty
                        partycomplaint
                              complaint   in in  every
                                              every      district
                                                     district     court
                                                              court  civilcivil
                                                                           (CV) (CV)
                                                                                   case.case.     It shall
                                                                                           It shall   not benot be in
                                                                                                             filed  filed in
        Domestic    Relations
        Domestic Relations     (DR),
                             (DR),      Probate
                                     Probate        (PR),
                                                (PR),  WaterWater
                                                               (CW),(CW),    Juvenile
                                                                       Juvenile   (JA, JR, (JA,JD,JR,   JD,
                                                                                                     JV), or JV),  or Mental
                                                                                                              Mental
        Health   (MH)cases.
        Health (MH)     cases.   Failure
                              Failure        to file
                                         to file  thisthis  cover
                                                        cover   sheetsheet
                                                                       is notisanot    a jurisdictional
                                                                                   jurisdictional      defect defect
                                                                                                              in the in the
        pleadingbut
        pleading  butmay
                       mayresult
                            result
                                 in in a clerk's
                                    a clerk's  showshow    cause
                                                       cause  orderorder   requiring
                                                                    requiring            its filing.
                                                                                its filing.

     2.
     2. Simplified Procedure
                    Procedureunder
                                 under  C.R.C.P.
                                     C.R.C.P. 16.116.1
                                                   applies    this case
                                                   applies to this caseunless
                                                                        unless (check  onebox
                                                                               (check one  boxbelow
                                                                                               belowif if
             parryasserts
        this party asserts  that
                          that   C.R.C.P.
                               C.R.C.P. 16.116.1      apply):
                                                  not apply):
                                             does not

           [✓]This
           [✓]This is
                   is aa class
                         classaction,
                               action,   forcible
                                      forcible    entry
                                               entry andand  detainer,
                                                         detainer, Rule Rule 106, 120,
                                                                        106, Rule  Ruleor120,
                                                                                          otherorsimilar
                                                                                                  other similar
              expeditedproceeding,
              expedited    proceeding,or

           [_]This party
                     party is seeking
                               seeking aa monetary
                                           monetary     judgment
                                                     judgment        against
                                                                 against        another
                                                                          another          parly
                                                                                    party for     for than
                                                                                               more    more than
              $100,000.00,    including
              $100,000.00, including     any
                                       any    penalties
                                           penalties     or punitive
                                                     or punitive       damages,
                                                                  damages,          but excluding
                                                                             but excluding  attorneyattorney
                                                                                                     fees, fees,
              interestand
              interest andcosts,
                            costs,
                                 as as supported
                                    supported     byfollowing
                                              by the  the following  certification:
                                                               certification:

                          signaturebelow
                  By my signature     belowand and
                                                 in in compliance
                                                    compliance    withwith   C.R.C.P.
                                                                         C.R.C.P.        11, based
                                                                                   11, based          upon information
                                                                                              upon information
                  reasonablyavailable
                  reasonably   available to to
                                            meme    at this
                                                at this time,time,  I certify
                                                               I certify      thatvalue
                                                                         that the   the value
                                                                                         of thisof this party's
                                                                                                party's  claims claims
                  against  oneofofthe
                  against one       the other
                                      other     parties
                                             parties      is reasonably
                                                     is reasonably          believed
                                                                      believed         to exceed
                                                                                to exceed           $100,000."
                                                                                           $100,000."
Case 1:20-cv-01452-RBJ Document 5 Filed 05/22/20 USDC Colorado Page 19 of 19




     Or

    [~]Another
        'Anotherparty
                  partyhas
                        haspreviously
                            previouslyfiled
                                       filedaacover
                                               coversheet
                                                     sheetstating
                                                           stating that
                                                                    that C.R.C.P.
                                                                         C.R.C.P. 16.1 does not apply
    to this case.

 3. [&✓
     [V]This
       ]This party makes a Jury  Demandatatthis
                            Jury Demand     thistime
                                                 timeand
                                                       andpays
                                                           paysthe
                                                                the requisite
                                                                     requisite fee.
                                                                                fee. See
                                                                                     See C.R.C.P.
                                                                                         C.R.C.P. 38.
     (Checking this box is optional.)
                                            s/ Eric R.
                                            s/Eric  R. Coakley
                                                        Coakley
 Date: March
       March 31,
              31, 2020
                  2020
                                            Signature of of Party
                                                            Party or Attorney
                                                                      Attorney for Party
                                                                                      Party

                                              NOTICE

 This cover sheet must be served on all other parties along with the initial pleading of a
 complaint, counterclaim, cross-claim, or
                                       or third party complaint.




                                               CoaKLEY, LLC
                                               COAKLEY, LLC

                                               s/Eric R. Coakley

                                               Eric R. Coakley
